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19
                              UNITED STATES DISTRICT COURT
20                          NORTHERN DISTRICT OF CALIFORNIA
                                   OAKLAND DIVISION
21
22   PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-5146-YGR-SVK
     themselves and all others similarly situated,
23                                                   GOOGLE LLC’S ADMINISTRATIVE
            Plaintiffs,                              MOTION FOR LEAVE TO REPLY TO
24                                                   PLAINTIFFS’    RESPONSE   TO
                                                     GOOGLE’S       MOTION    FOR
            v.                                       CLARIFICATION (DKT. 717)
25
26   GOOGLE LLC,                                     Judge: Hon. Susan van Keulen, USMJ

27          Defendant.
28
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 1     I.   INTRODUCTION
 2          Pursuant to Local Rule 7-11, Google respectfully seeks leave to reply, as set forth herein, to
 3 correct certain key misrepresentations in Plaintiffs’ Response to Google’s Motion for Clarification
 4 (Dkt. 717) (“Plaintiffs’ Response”).
 5    II.   REPLY
 6          Plaintiffs’ Response misstates the factual record and procedural history in this case to
 7 falsely cast Google as noncompliant with discovery orders of the Court and Special Master. In
 8 truth, it is Plaintiffs who seek to undermine settled rulings on the scope of discovery by repeatedly
 9 raising the same issues when the Special Master’s or the Court’s orders do not go their way.
10 Plaintiffs’ attempt to recast their rejected challenges threatens to derail the entire litigation.
11          Google’s motion for clarification makes plain that Google intends to produce all of Named
12 Plaintiffs’ data that Google has preserved pursuant to a litigation hold (“Litigation Hold Data”)
13 under the Court’s June 13, 2022 order (“Discovery Order”), regardless of whether that data is
14 relevant or responsive. Dkt. 705, 719. Consistent with its commitment to seek the Court’s
15 guidance in clarifying the scope of prior Orders, Dkt. 616 at 9:22–23, Google seeks to clarify that
16 its production obligations under the Discovery Order are limited to the Litigation Hold Data, and
17 do not require it to conduct additional searches beyond the extensive searches it has already run as
18 part of the lengthy and comprehensive Special Master process.
19          A. Plaintiffs Purposefully Misrepresent the Dispute Underlying the Court’s
20               Discovery Order
21          Plaintiffs’ Response is replete with inaccuracies,1 but one misrepresentation in particular is
22 of critical importance to the motion for clarification. Plaintiffs misleadingly conflate two distinct
23 sets of data in claiming Google is withholding “Newly Revealed Plaintiff Data.” Dkt. 717 at 1:13 –
24 20. Specifically, Plaintiffs purposely conflate litigation hold data—i.e., the data that gave rise to
25
26
       1 Many of Plaintiffs’ misrepresentations mirror allegations in Plaintiffs’ pending motion for
27 sanctions (Dkt. 670) and will be fully addressed in Google’s response to that m otion. Google is
28 prepared to provide a more detailed submission detailing Plaintiffs’ representations earlier at the
   Court’s request.

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 1 the Discovery Order—with other unrelated data that is not subject to the litigation hold. 2 The latter
 2 data was not part of the dispute Plaintiffs brought to the Court for resolution in the Discovery
 3 Order, and Plaintiffs’ belated suggestion that some unspecified data falls under the scope of the
 4 Discovery Order is an end run around adverse prior rulings on the proper scope of discovery.
 5          The Discovery Order concerned a dispute over whether the Litigation Hold Data should be
 6 produced as part of the Special Master process. The Special Master carefully considered the
 7 parties’ positions and ultimately ordered Google to produce only Litigation Hold Data that did not
 8 contain information confidential to third-party publishers. Google produced that data on March 9
 9 and March 10, 2022.
10          Indeed, the Special Master has consistently held Litigation Hold Data that does contain
11 confidential third-party information should not be produced wholesale, but rather should be
12 subject to further targeted searches. See, e.g., SM Hrg. Tr. 48:17–22, April 22, 2022 (“MR.
13 BRUSH: Okay. So if -- Plaintiffs you can put together just as you’ve done with everything else
14 the search requests that will be against the historically preserved litigation held data, we ’ll, you
15 know put it over to Google and we can run those searches.”). Yet Plaintiffs never provided
16 search parameters despite agreeing to comply with the Special Master’s order. See id. 52:10–53:11
17 (“MR. STRAITE: I know we have a lot on the Plaintiffs’ side . . . finally, it’s the searches for
18 across the historically preserved data for which notice is required. You’re asking for additional
19 search parameters.”); id. 7:3–9 (“MR. STRAITE: [Y]ou are asking us to be reasonable regarding
20 the search process. We, as Plaintiffs, thought it was smarter to get all of the historically
21 preserved Plaintiffs’ data to inform future searches. We understand that’s been rejected. You
22 said the perfect is the enemy of the good.”)
23          After the Special Master rejected their position, Plaintiffs brought this issue before the
24 Court, “seek[ing] production of Named Plaintiffs data that Google searched and preserved long
25 ago,” Dkt. 678 at 1, and the Discovery Order ultimately issued.
26
27
        2 This includes data associated with Plaintiff s’ use of other Google products or services, such
28
     as Gmail and Google Chat.
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 1          B. Plaintiffs Improperly Seek to Relitigate Discovery Disputes Already Decided by
 2               the Court and the Special Master
 3          Plaintiffs claim that Google is seeking reconsideration of the Discovery Order. Dkt. 717 at
 4 1:4–6. Not so. It is Plaintiffs—through the orders they request in their Response—who are
 5 attempting to relitigate complex issues already decided by this Court and the Special Master. Their
 6 overreaching and improper requests for relief above and beyond that the Court has already ordered
 7 should be denied.
 8          Plaintiffs’ request that the Court simply order Google to produce “[a]ll Named Plaintiff
 9 data currently being withheld by Google” is unhelpful and unnecessary. Google will follow the
10 Court’s ruling and has taken substantial steps to do so, including by providing notice to publishers
11 implicated by the Litigation Hold Data. The Court previously sanctioned Google for not seeking
12 the Court’s intervention in clarifying the scope of a prior discovery order. Dkt. 685. Google took
13 that guidance to heart, and assured the Court that it “will seek the Court’s intervention in
14 attempting to enforce its prior orders in the future.” Dkt. 558 at 9:22–23. That is precisely what
15 Google has done here. It would be unjust (and counterproductive) to allow Plaintiffs to use
16 Google’s candor and good-faith attempt to confirm the scope of its Court-ordered obligations
17 against it.
18          Plaintiffs’ request “that the Court order Google to produce an exemplar of the form letter
19 or email that it is sending to notify publishers of its production of this information” is not only
20 irrelevant to Google’s motion, but has also repeatedly been considered and denied by the Special
21 Master. See, e.g., SM Hrg. Tr. at 33:10–35:4, March 14, 2022 (“MR. STRAITE: Could we see
22 those 100 notices that were sent out already . . . , could we see the exemplar? . . . MR.
23 BRUSH: . . . we’re not going . . . to add additional time to this process by examining letters for
24 preservation (indiscernible) third parties. That's kind of unusual.”);        SM Hrg. Tr. at 49:5-20,
25 April 4, 2022 (“MR. STRAITE: [W]hen these notices go out, if we could get copies, if it’s an
26 exemplar that’s identical, we would just need the exemplar to see what the communications are to
27 the publishers. . . . MR. BRUSH: . . . Yeah, no, at this point that’s not part of the process that we
28 need.”); SM Hrg. Tr. at 17:17–18:1, May 25, 2022 (“MR. STRAITE: [I]t literally is a form letter

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 1 going out to multiple publishers . . . MR. BRUSH: Understood. You know, at this point from
 2 what I’m looking at as the lens of the process, I would say it’s denied from my seat . . . .”).
 3 Plaintiffs provide no basis to relitigate that well-worn issue here.
 4          Plaintiffs’ third request—that the Court order Google to submit a further “sworn
 5 declaration from Google’s General Counsel relating to the order of November 12, 202[1]”—is
 6 both burdensome and wholly unnecessary. Plaintiffs seek a declaration materially identical to the
 7 one the Court ordered on November 12, 2021, see Dkt. 377 at 6 (“Google shall provide a
 8 declaration, under penalty of perjury from Google, not counsel, that . . . All responsive data related
 9 to the Named Plaintiffs have been produced from all searched data sources in the respective prior
10 searches.”), to which Google timely responded with a declaration that the Special Master
11 expressly found to satisfy the order’s requirements. Dkt. 560 at 5.
12 III.     CONCLUSION
13          For the foregoing reasons, Google respectfully seeks leave to submit this reply to Plaintiffs’
14 Response.
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16 DATED: June 17, 2022                         QUINN EMANUEL URQUHART &
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